       Case 1:98-cr-00019-MP          Document 1496      Filed 05/16/07     Page 1 of 1


                                                                                       Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                              CASE NO. 1:98-cr-00019-MMP

ARTHUR W. HOUSEHOLDER,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 1493, Motion for Early Termination of

Supervised Release. The Court has consulted the probation office and the Assistant United

States Attorney, neither of whom offered objection. The motion is granted, and the defendant is

terminated from supervised release.


       DONE AND ORDERED this            16th day of May, 2007


                                      s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
